              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:12-cr-00088-MR-DLH-1


UNITED STATES OF AMERICA,        )
                                 )
                    Plaintiff,   )
                                 )
          vs.                    )                     ORDER
                                 )
                                 )
ALEX DEAN NELSON,                )
                                 )
                    Defendant.   )
________________________________ )
                                 )
IN RE: PETITION OF JOY NELSON    )
BROOKS.                          )
________________________________ )


      THIS MATTER is before the Court on the Petition of Joy Nelson

Brooks [Doc. 21] and the Government’s Motion to Strike Claim [Doc. 22].

      On September 24, 2012, the Court entered a Consent Order and

Judgment of Forfeiture for the real property at 4640 Celia Creek Road,

Lenoir, NC 28645. [Doc. 12]. Following entry of the Consent Order, on

November 26, 2012, Petitioner Joy Nelson Brooks, proceeding pro se, filed

a Petition with this Court claiming a legal interest in the property. [Doc. 21].

While the Petition is notarized, it is not signed under penalty of perjury.




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      A petition filed by a third party claiming interest in property which has

been ordered forfeited to the United States must “be signed by the

petitioner under penalty of perjury.” 21 U.S.C. § 853(n)(3). A notarized

petition, which is not verified by the petitioner herself, is insufficient. See

United States v. Speed Joyeros, S.A., 410 F.Supp.2d 121, 124 (E.D.N.Y.

2006). “Requiring the claimant to sign personally under penalty of perjury

serves the government's legitimate interest in protecting forfeited assets.”

Id. A petitioner who fails to file a verified petition lacks standing to contest

a forfeiture. United States v. Loria, No. 3:08cr233-2, 2009 WL 3103771, at

*2 (W.D.N.C. Sep. 21, 2009) (citing United States v. $487,825,000 in U.S.

Currency, 484 F.3d 662, 664-65 (3d Cir. 2007)).

      The Court will allow Petitioner Brooks thirty (30) days from the entry

of this Order in which to file an amended petition which is signed under

penalty of perjury. If the Petitioner fails to file an amended petition within

the time required, the Government’s Motion to Strike Claim will be granted

and the Petition will be dismissed.

      Accordingly, IT IS, THEREFORE, ORDERED that Joy Nelson Brooks

shall file an amended petition, signed under penalty of perjury, within thirty

(30) days of the entry of this Order. Petitioner is advised that failure to


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file an amended petition signed under penalty of perjury will result in

the dismissal of her petition.

     The Clerk of Court is directed to provide copies of this Order to

counsel for the Government and the pro se Petitioner Joy Nelson Brooks.

     IT IS SO ORDERED.

                                    Signed: December 19, 2012




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